7 F.3d 225
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Paul Marcus ROGERS, Petitioner-Appellant,v.STATE of SOUTH CAROLINA;  T. Travis Medlock, Respondents-Appellees.
    No. 93-6584.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 20, 1993.Decided:  September 17, 1993.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  Charles E. Simons, Jr., Senior District Judge.  (CA-92-2619-3-6AJ)
      Paul Marcus Rogers, Appellant Pro Se.
      Donald John Zelenka, Chief Deputy Attorney General, Columbia, South Carolina, for Appellees.
      D.S.C.
      DISMISSED.
      Before WILKINS and LUTTIG, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Paul Marcus Rogers seeks to appeal the district court's order dismissing his 28 U.S.C. § 2254 (1988) petition.  Appellant's case was referred to a magistrate judge pursuant to 28 U.S.C.s 636(b)(1)(B) (1988).  The magistrate judge recommended that relief be denied and advised Appellant that the failure to file timely objections to this recommendation could waive appellate review of a district court order based upon the recommendation.  Despite this warning, Appellant failed to object to the magistrate judge's recommendation.
    
    
      2
      The timely filing of objections to a magistrate judge's recommendation is necessary to preserve appellate review of the substance of that recommendation when the parties have been warned that failure to object will waive appellate review.   Wright v. Collins, 766 F.2d 841, 845-46 (4th Cir. 1985).   See generally Thomas v. Arn, 474 U.S. 140 (1985).  Appellant has waived appellate review by failing to file objections after receiving proper notice.  We accordingly deny a certificate of probable cause to appeal and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    